
LYONS, Justice.
The writ of certiorari is quashed. See Hale v. State, 848 So.2d 224, 233 (Ala.2002) (holding that “the absence of sentence enhancement allegations from the indictment does not deprive the trial court of jurisdiction to impose the enhancements” and that because the defendant “did not argue before the trial court at any time that the application of the sentence enhancements violated his rights to due process and to a trial by jury, he ... waived appellate review of [those] arguments”).
WRIT QUASHED.
MOORE, C.J., and HOUSTON, SEE, BROWN, HARWOOD, WOODALL, and STUART, JJ., concur.
JOHNSTONE, J., dissents.
